Case 2:03-CV-02423-SH|\/|-tmp Document 150 Filed 08/22/05 Page 1 of 3 Page|D 163

FILED BY _m__ D,c_
IN THE UNITED sTATES DISTRICT coURT
FOR THE wESTERN DISTRICT oF TENNESSEE USAUGZZ L;33
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CLEHK,U.S.D§S"' ‘
LAURA A. TAVERNIER, M.D., NDGFN¢R§H§§MW
Plaintiff,
v. NO. 03-2423-MaP

'I'HE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, E'I‘ AL. ,

Defendants.

 

ORDER GR.ANTING PERMISSION TO FILE SUR-REPLY
IN FURTHER SUPPOR'I' OF MOTION FOR SUm/LARY JUDGMENT

 

Before the court is plaintiff's August 17, 2005, motion to
file a sur~reply to the reply of defendants University of
Tennessee College of Medicine, John E. Midtling (in his official
capacity), Henry G. Herrod (in his official capacity), Ray Walker
(in his individual and official capacities), and Nancy Maddox (in
her individual and official capacities) to plaintiff's response
to motion for summary judgment. For good cause shown, the motion
is granted and plaintiff may file her sur-reply.

It is so ORDERED this qu(day of August, 2005.

Jl//M/wz___

SAMUEL H. MAYS,` JR.
UNITED STATES DIS‘I‘RICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

